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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
                                          _____________________

                                         No 14-CV-419 (JFB) (ARL)
                                          _____________________

                                             ASA BACON,

                                                                  Plaintiff,

                                                 VERSUS


                                           WALGREEN CO.,

                                                           Defendant.
                                        ___________________
                                     MEMORANDUM AND ORDER
                                           March 20, 2015
                                        ___________________


JOSEPH F. BIANCO, District Judge:
    Plaintiff Asa Bacon (“plaintiff”) brings            the ADA are moot, because Walgreens has
this action against Walgreen Co.                        remedied the issue that allegedly interfered
(“defendant”),    asserting     claims    for           with plaintiff’s access to the pharmacy. As a
declaratory and injunctive relief under Title           result, the Court lacks subject matter
III of the Americans with Disabilities Act              jurisdiction over plaintiff’s federal claim.
(“ADA”), 42 U.S.C. § 12181, et seq., in                 For the same reason, the Court denies
addition to claims under New York law.                  plaintiff’s motion for partial summary
Specifically, plaintiff claims that he was              judgment.
injured at a Walgreens1 pharmacy because
the security sensors at the store’s exit were                           I. BACKGROUND
not wide enough to permit his wheelchair to
                                                            Plaintiff filed the complaint in this action
pass through.
                                                        on January 21, 2014. Plaintiff “lives in
    Before the Court is defendant’s motion              Hempstead in New York and is an
to dismiss in part, as well as plaintiff’s              individual with a disability known as
motion for partial summary judgment. For                paraplegia. As a result of his disability, the
the reasons set forth below, the motion to              plaintiff cannot walk and uses a motorized
dismiss is granted, and the motion for                  wheelchair to assist his mobility.” (Compl. ¶
summary judgment is denied. In sum, the                 1.) The complaint avers that on October 28,
Court concludes that plaintiff’s claims under           2012, plaintiff patronized a Walgreens
                                                        pharmacy located at 393 Front Street in
1
   Defendant Walgreen Co. operates a chain of           Hempstead, New York. (Id. ¶¶ 1, 14.) As a
pharmacies named “Walgreens.” The Court will refer      security feature, the store contains two
to defendant and its pharmacies as “Walgreens.”
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electronic sensors on either side of the exit            the Court requested that the parties submit
door. (Id. ¶ 9.) As plaintiff attempted to pass          additional materials. The parties filed letters
through the exit, “the left footrest of his              regarding the width of the poles, and on
wheelchair came into contact with the sensor             March 17, 2015, plaintiff filed a letter
to his left causing it to bend the footrest and          informing the Court that he conceded that
plaintiff’s left foot and leg to the point               the present placement of the poles and the
where the left tibia was severely fractured.”            security sensors complies with the ADA.
(Id. ¶ 14.) Plaintiff asserts that the incident          (Pl. Letter, ECF No. 24.)
occurred because the sensors are 32 to 33
inches apart, which is wide enough for                      This matter is fully submitted, and the
ambulatory persons to pass through, but                  Court has fully considered the parties’
which is too narrow to allow a wheelchair to             submissions.
pass through. (Id. ¶¶ 11-12.) Plaintiff
                                                                  II. STANDARDS OF REVIEW
contends that Walgreens must space the
sensors at least 36 inches apart in order to                 Before the Court are defendant’s motion
comply with the ADA. (Id. ¶¶ 10-13.)                     to dismiss, pursuant to Federal Rule of Civil
                                                         Procedure 12(b)(1), and plaintiff’s motion
    On May 27, 2014 plaintiff filed a motion
                                                         for summary judgment, pursuant to Rule 56.
for partial summary judgment, seeking
                                                         The following standards of review are
judgment on his claims for injunctive and
                                                         applicable to the respective motions.
declaratory relief under the ADA and the
New York State Human Rights Law. On                             A. Subject Matter Jurisdiction
May 28, 2014, defendant cross-moved to
dismiss plaintiff’s claims for injunctive and                To defeat a motion to dismiss brought
declaratory relief for lack of subject matter            under Fed. R. Civ. P. 12(b)(1), “[t]he
jurisdiction, pursuant to Fed. R. Civ. P.                plaintiff bears the burden of proving subject
12(b)(1). In support of that motion,                     matter jurisdiction by a preponderance of the
defendant submitted an affidavit from Gary               evidence.” Aurecchione v. Schoolman
Normandin, the regional manager for                      Transp. Sys., Inc., 426 F.3d 635, 638 (2d
Walgreens, who attests that “[o]n April 29,              Cir. 2005). In resolving this issue, the court
2014, the security sensors at the exit to the            “must accept as true all material factual
premises were permanently relocated by                   allegations in the complaint, but [it is] not to
bolting them to the floor so that the distance           draw inferences from the complaint
between them is more than 36 inches.”                    favorable to plaintiffs.” J.S. ex rel. N.S. v.
(Affidavit, ECF No. 18-3.)                               Attica Cent. Schs., 386 F.3d 107, 110 (2d
                                                         Cir. 2004). Additionally, the court “may
    On June 27, 2014, defendant opposed                  refer to evidence outside the pleadings” to
the motion for summary judgment and                      resolve the jurisdictional issue. Makarova v.
plaintiff opposed the motion to dismiss.                 United States, 201 F.3d 110, 113 (2d Cir.
Both parties have filed reply memoranda.                 2000) (citing Kamen v. Am. Tel. & Tel. Co.,
Plaintiff’s memorandum in opposition                     791 F.2d 1006, 1011 (2d Cir. 1986)).
raised, for the first time, a challenge to the
width of the metal poles framing the exit                           B. Summary Judgment
door to the pharmacy.2 To address this issue,
                                                             Pursuant to Federal Rule of Civil
2
  The complaint exclusively addresses the security       Procedure 56(a), a court may grant a motion
sensors in the pharmacy, and does not contain any        for summary judgment only if “the movant
mention of the poles.
                                                     2
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shows that there is no genuine dispute as to          Co. v. Zenith Radio Corp., 475 U.S. 574,
any material fact and the movant is entitled          586-87 (1986)). As the Supreme Court
to judgment as a matter of law.” Fed. R. Civ.         stated in Anderson, “[i]f the evidence is
P. 56(a); Gonzalez v. City of Schenectady,            merely colorable, or is not significantly
728 F.3d 149, 154 (2d Cir. 2013). The                 probative, summary judgment may be
moving party bears the burden of showing              granted.” 477 U.S. at 249-50 (citations
that he is entitled to summary judgment. See          omitted). Indeed, “the mere existence of
Huminski v. Corsones, 396 F.3d 53, 69 (2d             some alleged factual dispute between the
Cir. 2005). “A party asserting that a fact            parties alone will not defeat an otherwise
cannot be or is genuinely disputed must               properly supported motion for summary
support the assertion by: (A) citing to               judgment.” Id. at 247-48 (emphasis in
particular parts of materials in the record,          original). Thus, the nonmoving party may
including        depositions,      documents,         not rest upon mere conclusory allegations or
electronically stored information, affidavits         denials but must set forth “‘concrete
or declarations, stipulations (including those        particulars’” showing that a trial is needed.
made for purposes of the motion only),                R.G. Grp., Inc. v. Horn & Hardart Co., 751
admissions, interrogatory answers, or other           F.2d 69, 77 (2d Cir. 1984) (quoting SEC v.
materials; or (B) showing that the materials          Research Automation Corp., 585 F.2d 31, 33
cited do not establish the absence or                 (2d Cir. 1978)). Accordingly, it is
presence of a genuine dispute, or that an             insufficient for a party opposing summary
adverse party cannot produce admissible               judgment “‘merely to assert a conclusion
evidence to support the fact.” Fed. R. Civ. P.        without supplying supporting arguments or
56(c)(1). The court “‘is not to weigh the             facts.’” BellSouth Telecomms., Inc. v. W.R.
evidence but is instead required to view the          Grace & Co., 77 F.3d 603, 615 (2d Cir.
evidence in the light most favorable to the           1996) (quoting Research Automation Corp.,
party opposing summary judgment, to draw              585 F.2d at 33).
all reasonable inferences in favor of that
party,     and     to    eschew     credibility                       III. DISCUSSION
assessments.’” Amnesty Am. v. Town of W.
                                                                 A. Motion to Dismiss
Hartford, 361 F.3d 113, 122 (2d Cir. 2004)
(quoting Weyant v. Okst, 101 F.3d 845, 854                       i.      Federal Claim
(2d Cir. 1996)); see Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986)                     Defendant has moved to dismiss
(summary judgment is unwarranted if “the              plaintiff’s claim under the ADA for lack of
evidence is such that a reasonable jury could         subject matter jurisdiction. Defendant argues
return a verdict for the nonmoving party”).           that plaintiff’s claim is moot, because
                                                      Walgreens has voluntarily remedied the
    Once the moving party has met its                 security sensors in the 393 Front Street
burden, the opposing party “‘must do more             location.
than simply show that there is some
metaphysical doubt as to the material                     Plaintiff brings his claim under Title III
facts . . . . [T]he nonmoving party must              of the ADA, which provides that “[n]o
come forward with specific facts showing              individual shall be discriminated against on
that there is a genuine issue for trial.’”            the basis of disability in the full and equal
Caldarola v. Calabrese, 298 F.3d 156, 160             enjoyment of the goods, services, facilities,
(2d Cir. 2002) (alteration and emphasis in            privileges, advantages, or accommodations,
original) (quoting Matsushita Elec. Indus.            or accommodations of any place of public
                                                  3
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accommodation . . . .” 42 U.S.C. §                   the time the complaint is filed, but through
12182(b)(2)(A)(iv). For purposes of §                all stages of the litigation.” Id. (quotation
12182(a), discrimination includes “a failure         omitted). Accordingly, if the underlying
to remove architectural barriers . . . where         dispute in a lawsuit is no longer ‘live,’ the
such removal is readily achievable . . . .” 42       case becomes moot, and the court will no
U.S.C. § 12182(B)(2)(A)(iv). It is well              longer have the authority to adjudicate the
established that Title III of the ADA allows         case. Id.
only for injunctive relief, not monetary
damages. Brief v. Albert Einstein College of              This Circuit applies a two-part test to
Medicine, 423 F. App’x 88, 90 (2d Cir.               determine whether a defendant’s voluntary
2011) (citing Powell v. Nat’l Bd. of Med.            cessation has rendered a case moot. The
Examiners, 364 F.3d 79, 86 (2d Cir. 2004)).          defendant must demonstrate: “(1) there is no
Therefore, under certain circumstances, a            reasonable expectation that the alleged
claim under the ADA can become moot if a             violation will recur and (2) interim relief or
defendant remedies the access barrier during         events have completely and irrevocably
the pendency of the litigation. Oliver v.            eradicated the effects of the alleged
Ralphs Grocery Co., 654 F.3d 903, 905 (9th           violation.” Clear Channel Outdoor, Inc. v.
Cir. 2011)) (“[A] defendant’s voluntary              City of New York, 594 F.3d 94, 110 (2d Cir.
removal of alleged barriers prior to trial can       2010); see also Gropper v. Fine Arts House.,
have the effect of mooting a plaintiff’s ADA         Inc., 12 F. Supp. 3d 664, 670 (S.D.N.Y.
claim.”); Hernandez v. Berlin Newington              2014) (evaluating mootness challenge to
Assoc., LLC, No. 10 CV 1333 (DJS), 2015              ADA claim). As the Supreme Court has
U.S. Dist. LEXIS 10818, at *5 (D. Conn.              recently emphasized, “a defendant claiming
Jan. 30, 2015) (same); Brenchley v. Vill. of         that its voluntary compliance moots a case
Phoenix, No. 01-CV-190, 2005 U.S. Dist.              bears the formidable burden of showing that
LEXIS 48212, at *12-13 (N.D.N.Y. Sept.               it is absolutely clear the allegedly wrongful
30, 2005) (“It is undisputed that any                behavior could not reasonably be expected
apparent violation of the ADA by the                 to recur.” Already, 133 S. Ct. at 727
Village has been definitively remedied to the        (quoting Friends of the Earth, Inc. v.
satisfaction of the Department of Justice.           Laidlaw Environmental Services, Inc., 528
Consequently, plaintiff’s request for                U.S. 167, 190 (2000)).
declaratory relief, to the extent he is deemed
                                                         Here, defendant argues that plaintiff’s
to have raised one, must be dismissed.”);
                                                     claim under the ADA is moot because that
Disabled in Action of Metro N.Y. v. Trump
                                                     claim challenges only the distance between
Int’l Hotel & Tower, No 01 Civ. 5518
                                                     the security sensors, and Walgreens has
(MBM), 2003 U.S. Dist. LEXIS 5145, at
                                                     remedied that alleged defect.3 (Def. Mem. at
*37 (S.D.N.Y. Apr. 2, 2003) (evaluating
                                                     2, ECF No. 19.) Defendant has proffered
whether modifications to property rendered
                                                     affidavits from a Walgreens manager,
ADA claim moot).
                                                     attesting that the company: (1) relocated the
    The mootness doctrine stems from                 sensors so that the distance between them is
Article III of the Constitution, which grants        greater than 36 inches, and (2) bolted the
the Judicial Branch authority over “Cases”           sensors to the floor in their new position.
and “Controversies.” See Already, LLC v.             (ECF Nos. 18, 28.) Plaintiff does not contest
Nike, Inc., 133 S. Ct. 721, 727 (2013). As           3
                                                       For purposes of this motion, the Court assumes,
the Supreme Court has made clear, an                 without deciding, that the ADA requires Walgreens
“actual controversy must exist not only at           to position the security sensors 36 inches apart.
                                                 4
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that Walgreens has remedied the access                              Based upon the submissions of the
barrier.4 (Pl. Letter, ECF No. 34.) Instead,                    parties and the present record, the Court
plaintiff argues that the access barrier is                     readily concludes that plaintiff’s claims
likely to recur. In support of this argument,                   under the ADA are moot. It is undisputed
plaintiff has submitted an affidavit from an                    that defendant has remedied the alleged
architect named Steven Zalben, who                              access barrier, and the Court does not
observes that security sensors are typically                    reasonably expect that defendant will move
moved when flooring is updated, or when                         the security sensors to an impermissibly
industrial carpeting is installed. (Affidavit of                narrower position. Even assuming arguendo
Steven Zalben, ECF No. 23 at 3.) Zalben                         that the sensors will need to be moved for
attests that industrial carpeting is typically                  re-carpeting five years hence, plaintiff’s
replaced every five years. (Id.) Based upon                     assertion that the access barrier will recur is
this information, plaintiff argues that                         speculative at best. Notably, plaintiff offers
defendant may move the sensors in five                          no reason whatsoever why defendant would
years, and that plaintiff has no present                        wish to position the sensors in a narrower
assurance that defendant will maintain the                      width, and plaintiff offers no evidence
36 inch width of the sensors if they are                        suggesting that Walgreens intends to move
moved. In response, defendant submits a                         the sensors. See Nat’l Alliance for
second affidavit from a Walgreens manager,                      Accessibility, Inc. v. Walgreen, No. 10-CV-
who attests that during the entire ten-year                     780, 2011 U.S. Dist. LEXIS 136171, at *9
period of his tenure, “the security sensors                     (M.D. Fla. Nov. 28, 2011) (access barriers
inside the premises were bolted to the                          were unlikely to recur because “[f]irst,
concrete floor and they were not moved for                      Walgreens’ violations of the ADA appear to
carpet cleaning, repair or replacement or for                   have been unknowing and unintentional . . .
any other purpose until they were moved                         and there is no reasons to think that
and again bolted to the floor on April 29,                      Walgreens would desire to violate the ADA
2014,” the date defendant took remedial                         in the future. Second, although the repairs
action in response to plaintiff’s complaint.                    were made in response to this lawsuit,
(Affidavit of Gary Normandin, ECF No.                           Walgreens appears to have genuinely
28.)                                                            attempted to comply with the law.”).
                                                                Instead, plaintiff asks this Court to issue an
4
   Although plaintiff now concedes that the exit                injunction based upon the mere possibility
passageway is wider than 36 inches, plaintiff                   that, five years from now, defendant may re-
submitted a letter on March 17, 2015 challenging the            carpet the exit passageway of the pharmacy,
width of the door to the pharmacy. (ECF No. 35.)
Plaintiff’s counsel claims that, by his measurements,           and at that time, the sensors may be
the door is 35.5 inches wide, and that the ADA                  positioned improperly, perhaps by accident.
requires doors to be at least 36 inches wide. As an             These concerns are purely speculative and
initial matter, this claim is not within the complaint          conjectural. As such, they are insufficient to
(which exclusively challenges the placement of the              rebut the defendant’s strong showing that
security sensors in the pharmacy), and plaintiff raised
this issue for the first time after the motion to dismiss       plaintiff’s claim is moot. Accordingly, the
was fully briefed. In any event, plaintiff’s challenge          motion to dismiss plaintiff’s ADA claim is
lacks merit, because the ADA only requires that                 granted.
entrance doors be at least 32 inches wide. See 36
C.F.R. 1191.1, Appx. D, § 404.3.1; Wyatt v. Ralphs                 ii.     State Law Claims
Grocery Co., No. 00-CV-1260, 2002 U.S. Dist.
LEXIS 27958, at *4 (C.D. Ca. Feb. 21, 2002); Kalani                 Defendant also moves to dismiss
v. Castle Vill., LLC, 14 F. Supp. 3d 1359, 1365 n.15            plaintiff’s claim for injunctive relief under
(E.D. Ca. 2014).
                                                            5
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New York law.5 Because the Court has                          allow the plaintiff to decide whether or not
dismissed as moot plaintiff’s federal claim,                  to pursue the matter in state court.”).
the Court need not consider, at this juncture,                Accordingly, pursuant to 28 U.S.C. §
defendant’s arguments regarding plaintiff’s                   1367(c)(3), the Court declines to retain
state law claims. “In the interest of comity,                 jurisdiction over all of plaintiff's remaining
the Second Circuit instructs that ‘absent                     state law claims, and dismisses these claims
exceptional circumstances,’ where federal                     without prejudice.
claims can be disposed of pursuant to Rule
12(b)(6) or summary judgment grounds,                             However, plaintiff may submit a letter to
courts should ‘abstain from exercising                        the Court within thirty days addressing
pendent jurisdiction.’” Birch v. Pioneer                      whether plaintiff seeks to invoke the Court’s
Credit Recovery, Inc., No. 06-CV-6497T,                       diversity jurisdiction, pursuant to 28 U.S.C.
2007 WL 1703914, at *5 (W.D.N.Y. June 8,                      § 1332. The Court observes that the
2007) (quoting Walker v. Time Life Films,                     complaint does not seek to invoke the
Inc., 784 F.2d 44, 53 (2d Cir. 1986)).                        Court’s diversity jurisdiction, but in an
Therefore, in the instant case, the Court, in                 excess of caution, the Court will afford
its discretion, declines to exercise                          plaintiff the opportunity to explain why the
supplemental      jurisdiction    over     any                Court has jurisdiction over this matter
remaining state law claims because “it ‘has                   despite the dismissal of all federal claims in
dismissed all claims over which it has                        this case.
original jurisdiction.’” Kolari v. N.Y.-
                                                                   B. Motion for Summary Judgment
Presbyterian Hosp., 455 F.3d 118, 122 (2d
Cir. 2006) (quoting 28 U.S.C. § 1367(c)(3));                      Plaintiff moves for summary judgment
see also Cave v. E. Meadow Union Free                         on his federal and state law claims for
Sch. Dist., 514 F.3d 240, 250 (2d Cir. 2008)                  injunctive and declaratory relief. However,
(“We have already found that the district                     as the Court has explained above, plaintiff’s
court lacks subject matter jurisdiction over                  federal claim is moot, and his state law
appellants' federal claims. It would thus be                  claim for injunctive and declaratory relief
clearly inappropriate for the district court to               must be dismissed. Moreover, plaintiff’s
retain jurisdiction over the state law claims                 federal claim became moot over a month
when there is no basis for supplemental                       before plaintiff filed the present motion. The
jurisdiction.”); Karmel v. Claiborne, Inc.,                   Court is mindful of plaintiff’s concern that a
No. 99-CV-3608 (WK), 2002 WL 1561126,                         defendant’s voluntary cessation may affect a
at *4 (S.D.N.Y. July 15, 2002) (“Where a                      plaintiff’s entitlement to attorney’s fees.
court is reluctant to exercise supplemental                   However, as defendant correctly points out,
jurisdiction because of one of the reasons                    a plaintiff’s interest in attorney’s fees cannot
put forth by § 1367(c), or when the interests                 create a “case or controversy” where none
of judicial economy, convenience, comity                      otherwise exists. See Epstein v. JPMorgan
and fairness to litigants are not violated by                 Chase & Co., No. 13 Civ. 4744 (KPF), 2014
refusing to entertain matters of state law, it                U.S. Dist. LEXIS 38628, at *23 n.6
should decline supplemental jurisdiction and                  (S.D.N.Y.) (“Plaintiff’s claims for attorney’s
5
                                                              fees and costs he has incurred in bringing
  Defendant has not moved to dismiss plaintiff’s              this claim to not establish an injury
claims for monetary damages under state law.
However, for the reasons discussed below, the Court           sufficient for standing purposes.”) (citing
declines to exercise supplemental jurisdiction over           Lewis v. Cont’l Bank Corp., 494 U.S. 472,
those claims, in the absence of any jurisdiction over a       480 (1990 (“This interest in attorney’s fees,
federal claim in this case.
                                                          6
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is, of course, insufficient to create an Article                   IV.     CONCLUSION
III case or controversy where none exists on
the merits of the underlying claim.”)).                    For the foregoing reasons, defendant’s
                                                       motion to dismiss plaintiff’s ADA claim is
    In any event, plaintiff does not have a            granted, and plaintiff’s motion for summary
viable claim for attorney’s fees, because he           judgment is denied. The Court, in its
is not the prevailing party in this action.            discretion, declines to exercise supplemental
Though the defendant has taken action to               jurisdiction over plaintiff’s state law claims.
redress plaintiff’s claims, this does not make         However, within thirty days of this Order,
plaintiff the prevailing party here. In order to       plaintiff shall submit a letter to the Court
be considered a prevailing party under the             indicating whether plaintiff believes the
ADA, a party must “secure a judgment on                Court has diversity jurisdiction over the state
the merits or a court-ordered consent                  law claims.
decree.” TRF Music Inc. v. Alan Ett Music
Group LLC, No. 06 Civ. 349 (PKC), 2006                                SO ORDERED.
U.S. Dist. LEXIS 30656, at *4 (S.D.N.Y.
May 18, 2006) (citing Buckhannon Bd. and
Care Home, Inc. v. W. Va. Dep’t of Health
& Human Res., 532 U.S. 598, 605 (2001));                              ______________________
see also Union of Needlestrades, Indus. &                             JOSEPH F. BIANCO
Textile Employees v. U.S. Immigration and                             United States District Judge
Naturalization Service, 202 F. Supp. 2d 265,
273-77 (S.D.N.Y. 2002), aff’d, 336 F.3d 200            Dated: March 20, 2015
(2d Cir. 2003); Access 4 All, Inc. v.                         Central Islip, NY
Grandview Hotel L.P., No. 04-CV-4368
(TCP), 2006 U.S. Dist. LEXIS 29574, at *10                                 ***
(E.D.N.Y. Mar. 23, 2006). As the Supreme
Court explained in Buckhannon, a defendant             Plaintiff is represented by Martin Coleman,
who voluntarily terminates the conduct a               Law Offices of Martin J. Coleman, 100
plaintiff has challenged might effectively             Crossways Park Drive West, Suite 412,
give the plaintiff all of the relief he seeks,         Woodbury, NY 11797. Defendant is
but the term “prevailing party” in fee                 represented by Joel Finger and Joshua
shifting statutes requires a “judicially               Hurwit, Littler Mendelson, P.C., 900 Third
sanctioned change in the legal relationship            Avenue, New York, NY 10022.
between the parties.” Buckhannon, 532 U.S.
at 605. Plaintiff has not been successful in
seeking a judgment on the merits, because
his claims are now moot. Under
Buckhannon, therefore, plaintiff is not the
prevailing party. In the absence of any legal
interest in the claims that are the subject of
the summary judgment motion, the Court
concludes that there is no legal basis for
granting judgment in the plaintiff’s favor.
   For the foregoing reasons, the motion for
summary judgment is denied.
                                                   7
